IN THE UNITED STATES DISTRICT COURTFOR
THE DISTRICT OF NEW HAMPSHIRE

THE UNITED STATES OF AMERICA

Vv. No. 1:21-cr-41-JL-01

ARIA DIMEZZO

NOTICE AND WAIVER

The Accused, Aria DiMezzo, and her counsel submit the following Notice and Waiver.

At a recent conference, Judge Laplante informed counsel that he has been a customer
of some of the financial institutions involved in this case. The judge has simply been a
customer of those institutions. His use of the services of those institutions has not been
connected in anyway to the conduct or circumstances at issue in this case. Judge Laplante

asked that the parties give notice of any concerns his disclosure might raise.

Counsel discussed the foregoing with Aria DiMezzo and answered her questions

regarding the information from the judge and how it might impact this casc.

Aria DiMezzo hereby notifies the court that she is not seeking to recuse Judge
Laplante based on the foregoing information and that she waives any conflict of interest based
on that information. She understands that this means Judge Laplante will remain the judge on
the case, barring some new information or circumstances.

WHEREFORE Ms. DiMezzo submits this Notice and Waiver to be made a part of the

record of this case.

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Date: May 20, 2022.

Leet ae Respectfully submitted,
ria DiMezzo

/s/ Richard Guerriero

Richard Guerriero, Esq.

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CERTIFICATE OF SERVICE
I hereby certify that this document, filed through the ECF system, will be sent
electronically to registered participants identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to the nonregistered participants on the date the document

was signed by me.

/s/ Richard Guerriero
Richard Guerriero, Esq.

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